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 7
                                   UNITED STATES DISTRICT COURT
 8
                                  CENTRAL DISTRICT OF CALIFORNIA
 9
                                             EASTERN DIVISION
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11
     FRANK SINGH,                                         Case No.: 5:19-cv-2287-JGB-SP
12
                           Plaintiff,
13                                                        NOTICE OF SETTLEMENT
14   v.

15   SINDA FOOD, INC., as an entity and doing
     business as “Golden Corral #2597”, JCC
16   CALIFORNIA       PROPERTIES        LLC,
17   JAMES CAMPBELL COMPANY, LLC,
     and DOES 1-50, Inclusive,
18
                           Defendants.
19
20   LET THIS HONORABLE COURT TAKE NOTICE:

21          Plaintiff hereby submits this Notice of Settlement to notify the Court that the lawsuit has
22   been settled. Plaintiff also requests sixty (60) days in which to file the dismissal in order to ensure
23   that parties are able to perform under the terms of the settlement agreement.
24
25   Date: February 3rd, 2020                                        Respectfully Submitted,
26
                                                                     /s/Daniel Malakauskas______________
27                                                                   By: Daniel Malakauskas, of,
                                                                     MALAKAUSKAS LAW, APC,
28                                                                   Attorney for Plaintiff




                                              Notice of Settlement
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